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                                                                                            Dec 22, 2020
                              UNITED STATES DISTRICT CO URT
                              SO UTH E RN DISTR ICT O F FL O R ID A
                       20-60159-CR-RUIZ/STRAUSS
                               Case N o.
                                        18U.S.C.j371
                                        18U.S.C.j982
  UN ITED STAT ES O F AM ER ICA

  VS.

  TIA M W ALK ER ,

                 D efendant.


                                           INFO R M A TIO N

         The United StatesA ttonw y eharges that:

                                   G EN ER AL A LLEG ATIO NS

         Atalltim esm aterialto thislnfonnation:

                                The Pavcheck Protection Prozram

               TheCoronavirusAid,Relief,and EconomicSecurityICLCARES''IActwasafederal
  1aw enacted in oraround M arch 2020 and designed to provide em ergeney financialassistance to

  the millions of Am ericans who are suffering the econom ic effeds caused by the COVID-19

  pandem ic. One source ofreliefprovided by the CA RES Actw asthe authorization offorgivable

  loanstosmallbusinessesforjob retention andcertainotherexpenses,throughaprogram refen'ed
  toasthePaycheckProtectionProgram (1$PPP'').
               ln orderto obtainaPPP loan,aqualifyingbusinesssubmittedaPPP loan application,

  w hich w as signed by an authorized representative of the business. The PPP loan application

  requiredthebusiness(throughitsauthorizedrepresentative)toacknowledgetheprogram rulesand
  m ake certain affirm ative certifications in orderto be eligible to obtain the PPP loan. ln the PPP
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  loanapplication(SmallBusinessAdministration(ûkSBA'')Fonn 2483),thesmallbusiness(through
  itsauthorizedrepresentative)wasrequiredtoprovide,amongotherthings,its:(a)averagemonthly
  payrollexpenses;and(b)numberofemployees.Thesefigureswereusedtocalculatetheamount
  of m oney the sm allbusiness was eligible to reeeive under the PPP. ln addition,businesses

  applyingforaPPP loanwererequiredtoprovidedocum entation confirmingtheirpayrollexpenses.

               A PPP loan applieation was processed by a participating lender If a PPP loan
                                                                                  .



  application was approved,the partieipating lender funded the PPP loan using its own m onies.

  W hileitwastheparticipating lenderthatissued the PPP loan, the loan w as 100% guaranteed by

  the SBA. Datafrom the application,including inform ation abouttheborrower, thetotalamount

  ofthe loan,and the listed num berofemployees,wastransm itted by the lenderto the SBA in the

  course ofprocessing the loan.

               PPP loan proceeds w ere required to be used by the business on certain perm issible

  expenses- payrollcosts,intereston m ortgages,rent,and utilities. The PPP allow ed the interest

  and principalon the PPP loan to be entirely forgiven ifthe business spent the loan proeeeds on

  these expense item sw ithin a designated period oftim e and used a defined portion ofthe PPP loan

  proceeds on payrollexpenses.

                        The D efendant,R elated Entities and lndividuals

                UtilizationReview ProsLLC ($$URP'')wasaFloridalimitedliabilitycompanywith
  itsregistered principaladdressat3310N orthw est208thStreet, M iamiGardens,Florida.

         6.     D efendantTIA R A W A LK ER ,aresidentofM iam i-D ade County, Florida,w asthe

  chiefexecutive officerand registered agentofU RP.
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                 Balzk 1wasa financialinstitution based in FortLee, N ew Jersey,thatwas insured

  bytheFederalDepositlnsuranceCorporation(tûFDIC'').Bnnk 1wasanapproved SBA lenderof
  PPP loans.

                 Bank Processor 1 w as a third-party com pany processor, based in Redwood City,

  California,thatprocessed PPP loan applications forBank 1.

          9.     Dam ion M cKenziewasaresidentofM iami-DadeCounty,Florida.

          10.    lndividual1 w as a residentofBrow ard County,Florida.

                                            C O U NT 1
                                Conspiracy to C om m it W ire Fraud
                                          (18 U.S.C.j371)
                 Paragraphs     through 10 of the General Allegations of this lnfonnation are

  realleged and incorporated by referenceasthough fully setforth herein.

         12.     From in orarotmd M ay 2020,through in oraround atleastJuly 2020, in Brow ard

  County,in theSouthernDistrictofFlorida,and elsewhere,thedefendant,

                                        TIAM     W A LK ER ,

  didwillfully,thatis,withtheintenttofttrthertheobjed oftheconspiracy,andknowinglycombine,
  conspire,confederate,andagreewithlndividual1,Dam ion M cKerlzie, andwith othersknown and

  unknown to theUnited StatesAttorney,to knowingly,and withthe intentto defraud, devise,and

  intend to devise,a schem e and artifice to defraud, and to obtain m oney and property by m eans of

  m aterially false and fraudulent pretenses, representations, and prom ises, know ing that the

  pretenses,representations,and prom isesw erefalse and fraudulentwhen m ade, and,forthepurpose

  ofexecuting the schem e and artitice,did know ingly transm itand cause to betransm itled, by m eans

  of wire communieation in interstate comm erce, certain m itings,signs, signals,pictures and

  sounds,in violation ofTitle 18,U nited States Code,Section 1343.
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                                PU RPO SE O F T H E C O N SPIR AC Y

                 ltw as the purpose ofthe conspiracy for the defendant and her co-conspirators to

  unlawfullyenrichthemselvesby,amongotherthings:(a)submittingandcausingthesubmission
  offalseand fraudulentapplicationsforloansand grantsm ade availablethrough the SBA to provide

  reliefforthe economic effects caused by the COVlD-19 pandemic,including PPP loans;(b)
  offering, paying, and receiving kickbacks in return for referring other individuals for the

  submission offalse and fraudulentloan applications'
                                                    ,and (c)diverting fraud proceedsforthe
  defendant's and co-conspirators'personal use,the use and benefit of others,and to further the

  conspiracy.

                        M AN N ER A N D M EA N S O F TH E CO N SPIM CY

         The m alm er and m eans by w hich the defendant and her co-conspirators sought to

  accomplish thepurposeoftheconspiracy included,among others,the following:

                 TIA R A W ALK ER ,lndividual 1,D am ion M cK enzie,and other co-conspirators

  subm itted and caused the subm ission of fraudulent PPP loan applications for U lt.
                                                                                    p and other

  entities,via interstate w ire com m unications.

                 The PPP loan applicationssubm itted by TIA R A W A LK ER ,lndividual1,D am ion

  M cKenzie,and otherco-conspiratorsforU ll.
                                           làand otherentities,included falsitied balzk statem ents

  and payrolltax form s,am ong otherthings,and falsely and fraudulently represented the borrow ing

  entities'num berofem ployeesand am ountofm onthly payroll.

                 TIA R A W A LK ER and other co-conspirators paid lndividual 1, D am ion

  M cK enzie, and other co-conspirators kickbacks in exchange for facilitating and obtaining

  fraudulentPPP loans.




                                                    4
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                 As a resultof such false and fraudulentPPP loan applications,Bank 1 and other

  participating banksdisbursed millionsofdollars'in PPP loanproceeds, which weretransferredto

  TIARA W ALKER,lndividual1,Dam ion M cKenzie,andotherco-conspiratorsviainterstatewire

  com m unications.

                                           O VER T A C TS

         ln furtheranceoftheconspiracy,andtoaccomplishitsobjectandpurpose,atleastoneof
  the eo-eonspiratorscom m itted and eaused to be com m itted,in the Southern DistrictofFlorida and

  elsew here,atleastone ofthe follow ing ovel'tacts,am ong others:

         18.     O n oraboutM ay 16,2020,lndividual1 sentT IA R A W A LK ER an em ailbearing

  asubjectlineof1û941,''atlachedtowhich werefourPDF filesthat,respectively,contained one
  lntelmalRevenueService(t11RS'')Fonu 941(titled,(tEmployer'sQuarterlyFederalTax Retunf')
  foreach quarterofcalendaryear2019,and noneofwhich weresignedordated.

                 On or aboutM ay 16,2020,lndividual 1 sent TIAIG W AL K ER a text m essage

  thatstated,CcllateaccordinglyFirstql04/4/2019 ()207/03/019Q3 10/05/2019()401/06/2020.5'
         20.     On oraboutM ay l6,2020,TIAR A W ALKER sentIndividual1an em ailbearing

  an empty subjectlineattached to which wasone PDF filethatcontained,in acompilation,one
  1RS Fonn 941Employer'sQuarterlyFederalTax Return foreach quarterofcalendaryear2019,
  and each of which bore the signature of TIARA W ALKER and was dated (:4/4/2019,5'

  117/13/2019 ''(:10/5/2019 ''and 6:1/6/2020 ''respectively.

                O n or aboutM ay 16,2020,TIA R A W ALK ER sent lndividual 1 a textm essage

 thatstated,ûû1sentthem -''

         22.    On or aboutM ay 16,2020,lndividual 1 sentTIA I:A W A LK ER a textm essage

 thatstated,ûûlsooksgood.''
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         23.     On oraboutM ay 17,2020,TIAR A W ALIQER electronically signed and initialed

  a Cûpaycheck Protection Program Borrow er A pplication Form '' on behalf of U RP, w hich

  representedthatUltp had 12 employeesand an averagem onthly payrollof$103,430.
                 On or about M ay 20,2020,TIA R A W A LK ER opened a new account at Truist

  Barlk (formerly BB&T)ending in 5066 inthenameofUltp forwhich TIARA W ALKER was
  thesoleaccolmtsignatory(thetû-l-ruist5066Accounf').
         25.     On oraboutM ay 20,2020,TIAR A W ALK ER transferred $258,575to theTnlist

  5066Accountfrom an accountatTruist(formerly BB&T)ending in 1675,which accounthad
  receivedtheproceedsofaPPP loan from Bank 1on M ay 19,2020in the am ountof$258,575.

         26.     OnoraboutM ay20,2020,TIARA W ALK ER caused apaym entof$64,645tobe
  m ade from the Truist5066 A ccountto lndividual1 via w ire transfer.

                 On oraboutJuly 2,2020,TIARA W ALK ER caused a paymentof$45,000 to be
  m ade from the Truist5066 A ccountto M cK enzie via check num ber 1016.

         A llin violation ofTitle 18,United States Code,Section 371.

                                 FO RFEITU R E AL LEG A TIO N S

         28.     The allegations contained in this lnform ation are hereby re-alleged and by this

  reference fully incorporated herein for the purpose of alleging forfeiture to the U nited States of

  certain property in which the defendant,TIAR A W ALKER,hasan interest.

         29.     Upon conviction of a violation of Title 18,United States Code, Section 371,as

  alleged in this lnform ation, the defendant shall forfeit to the U nited States any propel'
                                                                                            ty

  constituting,or derived from ,any proceeds the defendant obtained,directly or indirectly,as the

  resultofsuchviolationpursuanttoTitle 18,United StatesCode,Section982(a)(2)(A).



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         30. Theproperty subjectto forfeitureasaresultoftheallegedoffenseincludes,butis
  notlimited to:approxim ately $28,940.87 form erly on depositin accountnum ber1100014085066

  atTruistBank(fonnerly BB&T)heldinthenameofUtilizationReview ProsLLC.
         3l. Ifanyofthepropertysubjectto forfeiture,asaresultofanyactoromissionofthe
  defendant'
           .

             cannotbe located upon the exercise ofdue diligence'
                                                               ,

         b. hasbeen transferred orsold to,ordeposited w ith,athird party;

             hasbeenplacedbeyondthejurisdiction ofthecourt;
         d. hasbeen substantially dim inished in value;or

             hasbeen com m ingled w ith otherproperty w hich cannotbe divided withoutdifticulty,

  the United States shallbe entitled to the forfeiture ofsubstitute property underthe provisions of

  Title21,UnitedStatesCode,Section853û$.
         AllpursuanttoTitle18,UnitedStatesCode,Section982(a)(2)(A),andtheproceduresset
  forth in Title 21,United StatesCode,Section 853,asincorporated by Title 18,United StatesCode,

  Section982(b)(1).


   r                                                      V                ,        H r.
   ARIAN A AJA RD O O RSH A                          b-X EL S.KAHN
   UN ITED STA TES A TTORN EY                        A CTIN G CH IEF,FR AU D SECTION


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                                                                                   N z .'
   D ID A .S ID ER                                   P ILIP B.TRO U
   A SSISTA N T UN ITED STATES A TTO RN EY           TRIA L A TTO RN EY ,FR AU D SECTION
 Case 0:20-cr-60159-RAR Document 22 Entered on FLSD Docket 12/22/2020 Page 8 of 10
                                          UNITED STATES DISTRICT COURT
                                          SO UTH ERN DISTRICT O F FLO RIDA

UNITED STATES OF AM ERICA

                                                       C ERTIFICATE O F TRIA L ATTO RNEY.
TIAM    W A LK E R
                                                       Superseding C aseInform ation:
                             Defendant.     /

CourtDivijiop:(sel
                 ectOne)                               New defendanttsl            Yes      No
        M laml             Key W est                   Numberofnew defendants
y       FTL                W PB - . - FTP              Totalnumberofcounts

                 lhavecarefully considered the allegationsoftheindictm ent,thenumberofdefendants,thenumberof
                 probablewitnessesandthelegalcomplexitiesofthelndictment/lnform ation attachedhereto.
                 lam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                 Courtin setting theircalendars and scheduling criminaltrials underthe mandate ofthe Speedy Trial
                 Act,Title 28 U.S.C.Section 3161.
                 lnterpreter:      (YesorNo)
                 Listlanguageand/ordialect
                 Thiscase willtake 0 daysforthepartiestotry.
                 Pleasecheck appropriatecategory and typeofoffense listed below:
                 (Checkonlyone)                               (Checkonlyone)

        l        0to5days                   ?'                Peyy
        11       6 to 10 days                                 M lnor
        II1      11to 20 days                                 M isdem .
        IV       21to 60 days                                 Felony
        V        61daysand over
        6.       HasthiscasepreviouslybeenfiledinthisDistrictCourt?            (YesorNo)
         lfyes:Judge                                   CaseN o.
         (Attachcopyofdispositiveorder)
         Hasacomplaintbeenfiledinthismatter?           (YesorNo)         YeS
         lfyes:M agistrateCaseNo.                      20-M .
                                                            1-03523
         Related m iscellaneousnumbers:
         Defendantts)infederalcustodyasof
         Defendantts)instatecustodyasof
         Rule 20 from theDistrictof
         lsthisapotentialdeathpenaltycase?(YesorNo)               No
                 Doesthiscaseoriginate from am atterpending inthe CentralRegion ofthe U.S.Attorney'sOffice
                 priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                 Yes          No ?'
        8.       Doesthiscaseoriginate from am atterpending intheNorthern Region oftheU.S.Attorney'sOffice
                 priortoAugust8,2014(M ag.JudgeShaniekM aynard)?               Yes          No z
                 Doesthiscaseoriginate from am atterpending inthe CentralRegion oftheU.S.Attorney'sOffice
                 priortoOctober3,2019(Mag.JudgeJaredStrauss)?                  Yes          No ?'


                                                                  DA V I A .S ID ER
                                                                  A SSISTANT UNITED STATES ATTORNEY
                                                                  CourtID A 5502260
    ApenaltySheetts)attached                                                                         REv6/5/2020
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                           UN ITED STATES DISTR ICT CO UR T
                           SO UTH ER N DISTRICT O F FLO RID A

                                     PENA LTY SH EET

   Defendant's Nam e:TIA R A W ALK ER

   Case No.



   Title l8,United StatesCode,Section 371

   *M ax.Penaltv: 5 Years'Im prisonm ent

    WRefersonly to possible term ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeiture thatm ay be applicable.
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 AO455A v.û1/09)Waiverofanlndidmct

                              U NITED STATESD ISTRICT COURT
                                                  forthe
                                         Southem Disd ctofFlorida

              UnitedStatesofAmerica                  ) casexo.2& - fvtk
                         M.                                           ç'-.-s s-zoo
                  TIAM W ALKER                       )
                                                     )
                      De#ndott                       )
                                      W AIVER OFAN INDICTm NT

        1underse dthat1havebeen accused ofoneormoreoffensespunishableby imprîsonmentform orethan one
 year. lwasadvised in open courtofmy right ald thenatureoftlteprûposedchargegagains.
                                                                                   tme.

        M erreceivingthisadvkw.lwaivemy rightto prosecuutm by indictmentand consentto prosecutlon by
 information.



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